§ AO 245A g§ev. 12/03) J udgr_nent of Acquitml
UNITED STATES DISTRICT COURT o

NORTHF.RN DISTRICT OF CALIFORNIA

UNITED sTATEs 0F AMERICA
JUDGMENT OF ACQUITTAL
v.
PRABHAT GoYAL , 1
cAsE NuMBER: cR-04-0201_ MJJ (sI)
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The Dcfendant was found not guilty. IT IS ORDERED that the Defendant is acquitted, discharged,
and any bond exonerated.

§§

Signature ofJudge

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Name and 'I`itle of Judge

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Date

 

 

